Case 2:05-md-01657-EEF-DEK Document 11719-6 Filed 07/19/07 Page 1 of 6




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

In re: VIOXX MARKETING, SALES                   *       MDL NO. 1657
PRACTICES, and PRODUCTS                         *
LIABILITY LITIGATION                            *       SECTION L
                                                *
                                                *
WILLIMINIA WHEATON, on                          *       CASE NO. 05-00496
behalf of all surviving heirs and               *
on behalf of ROSIE L. WHEATON,                  *
Deceased,                                       *
                                                *       JUDGE ELDON E. FALLON
                Plaintiff,                      *
v.                                              *       MAGISTRATE JUDGE
                                                *       DANIEL E. KNOWLES, III
MERCK & CO., INC., a foreign                    *
corporation,                                    *
                                                *       PLAINTIFF DEMANDS TRIAL
                Defendant.                      *       BY STRUCK JURY

(THIS DOCUMENT RELATES TO: Janet Sue Morgan, et al. vs. Merck & Co.; Civil
Action No. 3:03cv435, MDL No. 05-0957)

                              FIRST AMENDED COMPLAINT

        COMES NOW the Plaintiff, Willimina Wheaton, on behalf of all surviving heirs and on

behalf of Rosie L. Wheaton, Deceased, and amends the previously filed complaint as follows:

                              IDENTIFICATION OF PARTIES

        1.      Plaintiff Willimina Wheaton is the surviving daughter of Rosie L. Wheaton and,

at all times material hereto, was a resident of Newton County, Mississippi. As a direct and

proximate result of the death of Rosie L. Wheaton and the negligence and the other actions and/or

omissions of Defendant Merck as more fully set forth in the Complaint, as amended, Rosie L.

Wheaton was injured and harmed as set forth herein.

        2.      Rosie L. Wheaton died on March 19, 2005. At the time of her death, Rosie L.

Wheaton was a resident of Louin County, Mississippi. Rosie L. Wheaton was survived by her

children, Willimina Wheaton, Mary L. Townsend, Deloise Johnson, Nannie Ross, Elva Fountain,




                                               1
Case 2:05-md-01657-EEF-DEK Document 11719-6 Filed 07/19/07 Page 2 of 6



William E. Wheaton, Annie J. Snow, Earnest E. Wheaton, Samuel E. Wheaton, and James R.

Wheaton. Rosie L. Wheaton was not survived by a spouse.

        3.      Plaintiff Willimina Wheaton is bringing this action on behalf of all surviving

heirs and on behalf of Rosie L. Wheaton, deceased.

       4.       In all other respects, the identity and location of the named parties set forth

in the original Complaint shall remain unchanged.

                     PROCEEDINGS AND FACTUAL BACKGROUND

        5.      This cause was originally brought as part of a consolidated complaint, filed in the

United States District Court, Southern District of Mississippi, Jackson Division. The complaint

in this cause was, and continues to be, styled as: Janet Sue Morgan, et al. v. Merck & Co., Inc

(Civil Action No. 3:03-cv-435). Rosie L. Wheaton was named as a plaintiff in that complaint.

        6.      Rosie L. Wheaton died on March 19, 2005. Willimina Wheaton, on behalf of all

surviving heirs, and on behalf of Rosie L. Wheaton, is the proper plaintiff to bring this action in

Rosie L. Wheaton’s place and stead and on behalf of all surviving heirs.

        7.      As more specifically set forth in the original complaint in this cause, Rosie L.

Wheaton was injured and harmed as the direct and proximate result of her ingestion of a

dangerous product, namely, VIOXX® (rofecoxib).           Further, Rosie L. Wheaton died as the

proximate result of her ingestion of VIOXX® (rofecoxib) and/or her Vioxx-related injuries

suffered by her during her life. In addition to the injuries alleged in the original complaint, Rosie

L. Wheaton died from a renal failure as the result of her ingestion of VIOXX®.

        8.      As a direct and proximate result of the conduct of Defendant Merck, the breaches

of implied and expressed warranties, the fraudulent misrepresentations, and/or the defective

nature of VIOXX®, as more specifically described herein, Rosie L. Wheaton suffered bodily

injury and harm, resulting in pain, anguish, and ultimate death. Rosie L. Wheaton, or those on

her behalf, also incurred significant hospital and medical expenses, funeral and administration




                                                 2
Case 2:05-md-01657-EEF-DEK Document 11719-6 Filed 07/19/07 Page 3 of 6



expenses, loss of earning capacity, shortened life expectancy, and loss of enjoyment of life. Her

surviving heirs also lost the love and affection of Rosie L. Wheaton.

        9.       Plaintiff adopts Counts I through V as set forth in the original Complaint,

specifically as they relate to Rosie L. Wheaton, and adopt those counts herein.

                               COUNT VI – WRONGFUL DEATH

        10.      Plaintiff realleges and restates those paragraphs above and all paragraphs of the

original Complaint as if set forth fully herein.

        11.      Plaintiff Willimina Wheaton brings this action on behalf of all surviving heirs,

and on behalf of Rosie L. Wheaton, and others, seeking damage for the wrongful death of Rosie

L. Wheaton caused as the result of Rosie L. Wheaton’s ingestion of the dangerous product,

VIOXX®.

        12.      As a direct and proximate result of the conduct of Defendant Merck, the breaches

of implied and expressed warranties, the fraudulent misrepresentations, and/or the defective

nature of VIOXX®, Rosie L. Wheaton suffered bodily injury and harm, resulting in pain and

anguish, and ultimate death.

        13.      In addition to the damages detailed herein, Plaintiff Willimina Wheaton on behalf

of all surviving heirs, and on behalf of Rosie L. Wheaton, deceased, seeks compensation for all

pecuniary and compensatory damages incurred or lost as a result of Rosie L. Wheaton’s death.

        14.      Defendant Merck’s conduct rose to the level of conscious, wanton, reckless, and

intentional disregard for the rights and safety of others, including Rosie L. Wheaton.

        WHEREFORE, Plaintiff, Willimina Wheaton, demands a money judgment against

Defendant Merck in the form of compensatory and punitive damages, as a jury deems reasonable

and just, plus the costs and expenses of these proceedings.

                    COUNT VII – ACTION BROUGHT ON BEHALF OF

                      All SURVIVING HEIRS OF ROSIE L. WHEATON




                                                   3
Case 2:05-md-01657-EEF-DEK Document 11719-6 Filed 07/19/07 Page 4 of 6



        15.      Plaintiff realleges and restates those paragraphs above and all paragraphs of the

original Complaint as if set forth fully herein.

        16.      The children of Rosie L. Wheaton, who are named above, were all proximately

injured, harmed, and damaged as the result of the death of Rosie L. Wheaton. Said children lost

the love, support, maintenance, and consortium of their mother, Rosie L. Wheaton.

        17.      Willimina Wheaton, on behalf of all surviving heirs, and on behalf of Rosie L.

Wheaton, hereby brings this action seeking all damages recoverable under Mississippi law as a

result of the death of his mother, Rosie L. Wheaton.

        WHEREFORE, the Plaintiff, Willimina Wheaton, on behalf of all surviving heirs, and

on behalf of Rosie L. Wheaton, demands a money judgment against Defendant Merck in the form

of compensatory and punitive damages, as a jury deems reasonable and just, plus the costs and

expenses of these proceedings.

                                            DAMAGES

        18.      In addition to the damages claimed and the recovery sought in the original

Complaint, Willimina Wheaton, on behalf of all surviving heirs, and on behalf of Rosie L.

Wheaton, seeks the following additional damages, pursuant to Mississippi law:

                 a.      The Estate of Rosie L. Wheaton and the surviving heirs of Rosie L.

Wheaton have incurred medical and/or funeral expenses due to the decedent’s injury or death,

and has lost the prospective net accumulations which might have reasonably been expected but

for the decedent’s wrongful death.

                 b.      Willimina Wheaton, on behalf of all surviving heirs and on behalf of

Rosie L. Wheaton, seeks all other damages recoverable under law and related to the death of

Rosie L. Wheaton, including hospital and medical expenses, loss of earning capacity, shortened

life expectancy, and loss of enjoyment of life.

                 c.      Willimina Wheaton, on behalf of all other legal heirs of Rosie L.

Wheaton, seeks recovery as the survivors of Rosie L. Wheaton, deceased.


                                                   4
Case 2:05-md-01657-EEF-DEK Document 11719-6 Filed 07/19/07 Page 5 of 6



        19.      In all other respects, Plaintiff Willimina Wheaton adopts and incorporates the

original Complaint as if set forth fully herein.

                                  DEMAND FOR JURY TRIAL

  PLAINTIFF RESTATES HIS DEMAND FOR A TRIAL BY STRUCK JURY ON ALL
                          ISSUES PRESENTED.


        Signed this __19th _ day of July, 2007.


                                              By: __/s/ Benjamin L. Locklar_____________
                                                  ANDY D. BIRCHFIELD, JR. (BIR006)
                                                   BENJAMIN L. LOCKLAR (LOC009)
                                                   Attorneys for the Plaintiffs

OF COUNSEL:

BEASLEY, ALLEN, CROW,
 METHVIN, PORTIS & MILES, P.C.
Post Office Box 4160
Montgomery, Alabama 36103-4160
(334) 269-2343
(334) 957-7555 – Fax




                                                   5
Case 2:05-md-01657-EEF-DEK Document 11719-6 Filed 07/19/07 Page 6 of 6




                            CERTIFICATE OF SERVICE

         I hereby certify that I have served a copy of the foregoing document upon all
counsel of record as listed below by placing a copy of same in the United States Mail,
first class, postage prepaid and upon all other interested parties through LexisNexis, as
required by the Court’s Pretrial Order #8, on this the _19th _ day of July, 2007.


Richard C. Stanley                          Phillip A. Wittman
Bryan C. Reuter                             Dorothy H. Wimberly
Thomas P. Owen, Jr.                         Carmelite M. Bertaut
STANLEY, FLANAGAN                           STONE PIGMAN WALTHER.
 & REUTER, LLC                               WITTMAN, LLC
909 Poydras Street                          546 Carondelet Street
Suite 2500                                  New Orleans, Louisiana 70130
New Orleans, Louisiana 70112                (504) 581-3200
(504) 523-1580                              (504) 581-3361 FAX
(504) 524-0069 – FAX



                                     ____/s/ Benjamin L. Locklar______________
                                     OF COUNSEL



BEASLEY, ALLEN, CROW, METHVIN,
  PORTIS, & MILES, P.C.
234 Commerce Street
Montgomery, Alabama 36104
(334) 269-2343
(334) 954-7555 - FAX
Andy.Birchfield@beasleyallen.com
Ben.Locklar@bealseyallen.com




                                           6
